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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


         In re:                                               Chapter 11

         Duro Dyne National Corp., et al.1                    Case No. 18 –27963 (MBK)

                                 Debtors.                     (Jointly Administered)


                             JOINDER OF LAWRENCE FITZPATRICK IN
                       DEBTORS’ REPLY IN SUPPORT OF MOTION TO APPOINT
                       THE PROPOSED FUTURE CLAIMANTS’ REPRESENTATIVE

                  Lawrence Fitzpatrick, the proposed legal representative for future claimants in these

         cases, respectfully submits this joinder in the Debtors’ Reply in Support of Motion to Appoint

         the Proposed Future Claimants’ Representative. For the reasons set forth in the Debtors’ Reply,

         Mr. Fitzpatrick respectfully submits that the objections of the United States Trustee, Federal

         Insurance Company, North River Insurance Company, and Hartford Accident and Indemnity

         Company filed in response to the Debtors’ Motion for an Order Appointing Lawrence Fitzpatrick

         as Representative for Future Asbestos Claimants are meritless and should be rejected.


         1
                  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax
         identification number, are: Duro Dyne National Corp. (4664); Duro Dyne Machinery Corp. (9699); Duro
         Dyne Corporation (3616); Duro Dyne West Corp. (5943); and Duro Dyne Midwest Corp. (4662). The
         Debtors’ corporate headquarters are located at 81 Spence St, Bay Shore, NY 11706.
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         Accordingly, the Court should overrule the objections and grant the Debtors’ Motion for an

         Order Appointing Lawrence Fitzpatrick as Representative for Future Asbestos Claimants.



         Dated: October 12, 2018


                                               /s/ Sean M. Beach
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